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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


L’ASSOCIATION DES AMÉRICAINS
ACCIDENTELS, ET AL.

            Plaintiffs

v.                                            Civil Action No. 20-cv-3573

U.S. DEPARTMENT OF STATE, ET AL.              ORAL ARGUMENT
                                              REQUESTED PER LCvR 78.1
            Defendants




     PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR PARTIAL
                        SUMMARY JUDGMENT




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                                                   INTRODUCTION


          For over two centuries the United States Government never charged a penny for renouncing

one’s citizenship. Today the price tag is an astronomical $2,350. The government’s protestations to

the contrary, this case directly implicates Plaintiffs’ fundamental constitutional right to renounce their

U.S. citizenship. The government minimizes the constitutional dimensions of Plaintiffs’ complaint by

relying on Cox v. New Hampshire, 312 U.S. 569 (1941) (hereinafter Cox) and likening the renunciation

fee to a municipal parade permit. In so arguing, the government ignores the source of its authority to

issue the Renunciation Fee in the first place. 31 U.S.C. §9701 is the sole source of authority for its

$2,350 fee. That statute allows a federal agency to assess a fair charge for providing a “service or

thing of value.” It does not permit an agency to impose a tax on the exercise of constitutionally

protected rights. It does not permit an agency to concoct a user-fee based almost entirely on indirect

and overhead costs. It does not grant an agency a blank check to assess a fee without providing a

coherent and credible calculation of the fee. It does not permit an agency to create a fee for something

that the government lacks the authority to provide. 1 The right to renounce is a fundamental and

inherent right of all American citizens and its exercise does not require the consent or authorization of

the government. Farrell v. Blinken, 4 F.4th 124 (D.C. Cir. 2021) (hereinafter Farrell). Despite

specifying procedures for voluntary and involuntary renunciation and relinquishment, to this day

Congress has never authorized the State Department or any other federal agency to charge any fee, let

alone an exorbitant one, for exercising the right to renounce.

          For the reasons enumerated below, the $2,350 fee contravenes the Fifth Amendment Due

Process Clause as well as the the First and Eighth Amendments. Furthermore, the fee does not comport

with customary international law. Finally, the agency action increasing the Renunciation Fee from


1
    National Cable Television Ass’n, Inc. v. United States, 415 U.S. 336, 341 (1974).

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$450 to $2,350 was arbitrary and capricious in violation of the Administrative Procedure Act.

                                                        ARGUMENT

    I.      PLAINTIFFS ARE ENTITLED TO SUMMARY JUDGMENT ON THEIR FIFTH
            AMENDMENT CLAIM 2


         As we have discussed at length, the right to voluntarily expatriate is deeply rooted in our

nation’s history and is necessary to ensure both liberty and justice. See ECF 14, at 3-15. For these

reasons, the right to voluntarily expatriate is a fundamental right, protected by the Fifth Amendment’s

Due Process Clause. Id.; see McDonald v. City of Chicago, 561 U.S. 742, 767 (2010); see also Abigail

All. for Better Access to Developmental Drugs v. von Eschenbach, 495 F.3d 695, 702 (D.C. Cir. 2007)

(applying the “deeply rooted history” plus “necessary for liberty and justice” criteria to assess whether

the right was fundamental).

         The government suggests that the Supreme Court has never recognized the right to expatriate

as a fundamental right. The government misreads both the history of voluntary expatriation and the

case law. Referring explicitly to the 1868 Act Concerning the Rights of American Citizens in Foreign

States, ch. 249, 15 Stat. 223 (1868), codified as a Note to 8 U.S.C. §1481, the Supreme Court stated

that the “United States has supported the right of expatriation as a natural and inherent right of all

2
  Purporting to invoke the doctrine of constitutional avoidance, the government urges the Court to skirt
Plaintiffs’ constitutional claims (Counts I-III). ECF 17, at 1. The government contends that the Court
should “first consider Defendants’ motion for summary judgment on Plaintiffs’ arbitrary and
capricious and statutory claims under the APA.” Id. However, a ruling on Plaintiffs’ constitutional
arguments, especially Count I, is unavoidable. Even if the Court would grant the government’s motion
for summary judgment on the APA and statutory claims (Count IV), Plaintiffs’ constitutional claims
(Counts I-III) remain viable. We note, along with the Supreme Court, that “the canon
of constitutional avoidance comes into play only when, after the application of ordinary textual
analysis, the statute is found to be susceptible of more than one construction; and the canon functions
as a means of choosing between them.” Clark v. Martinez, 543 U.S. 371, 385 (2005) [Emphasis in
original]; accord, Jennings v. Rodriguez, 583 U.S. ___, 138 S.Ct. 830, 842 (2018). No plausible
interpretation of 8 U.S.C. §1481(a)(5) can eliminate Plaintiffs’ constitutional objections as set forth in
Counts I – III of the Complaint.


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people. Denial, restriction, impairment or questioning of that right was declared by Congress, in 1868,

to be inconsistent with the fundamental principles of this Government.” Savorgnan v. United States,

338 U.S. 491, 498 (1950) (emphasis added).

        A recent decision of the United States Court of Appeals for the District of Columbia Circuit in

Farrell further buttresses the fundamental nature of the right. The Court of Appeals in Farrell asked

whether the plaintiff – who had sought to expatriate for years – had Article III standing to challenge

the government’s refusal to issue him a Certificate of Loss of Nationality. Judge Rao, writing for the

majority, concluded that the right to expatriate in the “1868 Act as well as in the INA [Immigration

and Nationality Act] reflects a longstanding recognition that such a right is rooted in natural law and

the principle of consensual government at the heart of our constitutional republic.” Id., at 132. The

majority found that the right to expatriate constitutes an “individual, private right,” the violation of

which is sufficient to establish injury-in-fact for purposes of Article III standing. 3

        Farrell is the latest addition to the expanding corpus of authority – legal, historical and

jurisprudential – establishing beyond cavil the fundamental nature of the right to expatriate. Against

the weight of this authority, the government’s belated denigration of this right rings hollow.

        It is perhaps for this reason that the government does not challenge Plaintiffs’ core assertion,

namely that the right to voluntarily expatriate is a fundamental liberty interest, the interference with

which is subject to strict scrutiny. ECF 14, at 3-19. Instead, the government advances two alternative

arguments. First, the government contends that Plaintiffs have failed to carefully describe the right to

expatriate. The government claims that the proper formulation of the right at issue is not the general

right to expatriate – as Plaintiffs describe it – but rather as the “right to renounce citizenship free of



3
 Although the D.C. Circuit in Farrell recognized that the right to renounce is a natural right at the
heart of our constitutional republic, it did not consider whether this right is grounded in the
Constitution.

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charge [...]” ECF 17, at 15 (emphasis added). Second, the government suggests that even assuming

that there is a general fundamental right to renounce, the Renunciation Fee does not pose any

constitutional problem under the line of “fee jurisprudence” cases commencing with Cox. Id., at 16-

19. Both arguments are, in a word, meritless.


    A. Plaintiffs have adequately described the right to voluntarily expatriate

       In substantive due process cases, such as the one at bar, the Supreme Court has traditionally

required a “careful description of the asserted fundamental liberty interest.” Washington v. Glucksberg,

521 U.S. 702, 721 (1997), quoting Reno v. Flores, 507 U.S. 292, 302 (1993). In their original brief,

Plaintiffs make clear that the renunciation right is best described as the right to voluntarily expatriate.

ECF 14, at 5, n. 6. Plaintiffs explained that this definition satisfies the Supreme Court’s “careful

description” requirement. Id.

       In its Opposition, the government claims that “a broad right to expatriate without limitation”

does not “qualify” as a “careful description” because “it fails to acknowledge and account for the

limitations on expatriation that courts have repeatedly upheld.” ECF 17, at 14-15. 4 The proper

formulation of the right at issue, claims the government, is not the general right to voluntarily

expatriate, but rather the right to do so “free of charge.” Id., at 15. The government then claims that

the right to voluntarily expatriate free of charge is neither deeply rooted in this nation’s history nor



4
  The government exaggerates the legal significance of the procedural limitations on the right to
voluntarily expatriate. Title 8 Section 1483(a)(5) of the U.S. Code and the regulations thereunder
impose the following restrictions: (1) the renunciant must physically appear before a U.S. consulate
abroad; and (2) the renunciant must take an oath demonstrating that the act of renunciation is both
voluntary and intentional. To the extent these “limitations” are imposed to ensure that the act is being
done voluntarily and with intent (see Farrell, at 135 [the “in-person requirement serves as a protection
against involuntary expatriation...”]), they are for the benefit of the renunciant and are therefore not
limitations at all. There are no other restrictions on the right, save for the up-front payment of the
Renunciation Fee.


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implicit in the concept of ordered liberty. Id. Setting up a classic “straw-man” argument (see New

York v. Microsoft Corp., 224 F. Supp. 2d 76, 102 n.25 (D.D.C. 2002), aff’d, 373 F.3d 1199 (D.C. Cir.

2004)), the government misunderstands, and hence misstates, Plaintiffs’ core constitutional claim,

ignoring 210 years of history and executive practice during which renunciation was gratis.

       At no point have Plaintiffs advocated for a “a broad right to expatriate without limitation.”

Plaintiffs do not challenge the constitutionality of the statutory and regulatory conditions for voluntary

expatriation under 8 U.S.C. §1483(a)(5), other than the Renunciation Fee. From the earliest days of

the Republic, it was recognized that the right to voluntarily expatriate could be subject to procedural

requirements. See Talbot v. Jansen, 3 U.S. (3 Dall.) 133 (1795) (Supreme Court recognized a right of

expatriation before concluding that the defendant in the case had failed to follow the correct procedures

for renouncing U.S. citizenship.). That the government may impose certain conditions on the right to

renounce does not mean that all such requirements are permissible. See Farrell supra. The State

Department’s Renunciation Fee is a clear example of a procedural pre-condition that does not pass

constitutional scrutiny. Plaintiffs’ description of the asserted right takes into account the authority the

government possesses to regulate expatriation and, thus, satisfies the “careful description”

requirement. 5 Washington v. Glucksberg, supra, 521 U.S. at 721.

    B. Cox v. New Hampshire is inapposite

       The government also defends the Renunciation Fee by relying principally on the Supreme

Court’s ruling in Cox which held that fees imposed when a state or municipal government incurs costs

occasioned by the exercise of First Amendment rights are permissible. ECF 17, at 16-19. The

government’s reliance on Cox is misplaced for several reasons.

       First and foremost, Cox dealt with the state’s exercise of the police power to protect the public


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 We note that in Obergefell v. Hodges, 576 U.S. 644, 663 (2015), the Supreme Court seems to have
dispensed with the “careful description” requirement. See ECF 14, at n. 5.

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order within its municipal jurisdictions. By contrast, the sole authority for imposing the Renunciation

Fee is the Independent Offices Appropriations Act (“IOAA”) of 1952, 65 Stat. B70, codified at 31

U.S.C. §9701, which was enacted strictly to ameliorate fiscal administration. The Renunciation Fee

serves no other public purpose. The exercise of the expatriation right does not depend on the

government’s discretion or largesse. It is a natural and inherent right of every U.S. citizen. See Farrell,

supra.

         The IOAA was enacted to permit agencies to charge user fees for “a service or thing of value

provided by the agency.” 31 U.S.C. §9701(b). The Supreme Court has read the language of the Act

narrowly in order to distinguish between fees for benefits conferred and taxes. Only Congress has the

authority to levy taxes under our Constitution. See Nat’l Cable Television Ass’n, Inc. v. United States,

supra, 415 U.S. at 340–41. Fees are “incident to a voluntary act” and involve the bestowal of a benefit.

Id. Agencies may impose fees for granting special benefits to individuals not shared by the general

public. Id.; Fed. Power Comm’n v. New England Power Co., 415 U.S. 345, 350–51 (1974). 6

         For several reasons, the IOAA does not authorize the Renunciation Fee. To charge a fee under

the IOAA, the government must provide “a service or thing of value.” Here, the government does not

provide any “service or thing of value.” The act of renunciation is not a benefit or service provided

by the federal government, unlike the state municipal services supplied by the local authorities in Cox.

Once the oath of renunciation is taken, the expatriation occurs “automatically.” 7 See Farrell, at 130



6
  Courts have further held that there must be “a sufficient nexus between the agency service for which
the fee is charged and the individuals who are assessed.” Seafarers Int’l Union of N. Am. v. U.S. Coast
Guard, 81 F.3d 179, 183 (D.C. Cir. 1996). In addition, agencies must “make clear the basis for a fee
it assesses under the IOAA.” Nat’l Cable Television Ass’n, Inc. v. F.C.C., 554 F.2d 1094, 1100 (D.C.
Cir. 1976).
7
  Cf. Steele v. United States, 260 F. Supp. 3d 52, 65 (D.D.C. 2017), vacated and remanded sub nom.
Montrois v. United States, 916 F.3d 1056 (D.C. Cir. 2019), cert. denied, 140 S. Ct. 39 (2019). In
Steele, the district court concluded that the IRS may not charge fees for issuance of a “preparer tax
identification number” (“PTIN”) because the “IRS is attempting to grant a benefit that it is not allowed

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and 145 [by performing an expatriating act, the citizenship is “lost automatically, without any

administrative or judicial determination” (citing United States v. Yakou, 428 F.3d 241, 249 (D.C. Cir.

2005)]. Because the government is not granting expatriation, it cannot be said to be providing a

service. Cf. Seafarers, supra, 81 F.3d at 186 (an “agency is not free to add extra licensing procedures

and then charge a user fee merely because the agency has general authority to regulate in a particular

area.”). 8

         The IOAA also requires an agency to take into account the “public policy or interest served”

and other “relevant facts.” The purpose of the Renunciation Fee is general cost recoupment, not the

facilitation of the exercise of the right to expatriate. As we discuss below, the effort by the government

to ensure that renunciation is done voluntarily is de minimis. Had the government properly identified

the public interest at stake – i.e., facilitating the exercise of the right to renounce – it would have either

declined to impose a fee, as it did for 200 years, or charge a nominal fee.

         Additionally, the IOAA requires any agency fee to be reasonable and fair. The Renunciation

Fee is unreasonable and unfair because, among other things, approximately 62% of the Fee is justified

on the basis of “indirect” and “overhead” costs not at all related to the voluntary renunciation process. 9

See Montrois v. United States, supra, 916 F.3d at 1062 (§9701 analysis requires assessment of the

reasonableness of the fee). See generally, Complaint, ¶¶205-206; ECF 14, at 31-40, and 41 n. 45.




to grant, and charge fees for granting such a benefit.” The same logic applies here to the Renunciation
Fee because the government is not authorized to “grant” expatriation, which is the exclusive
prerogative of the individual. On appeal, the D.C. Circuit upheld the PTIN fee on alternative grounds.
Montrois v. United States, supra, 916 F.3d at 1064.
8
  Under Farrell both the majority and the dissent concluded that “an individual has the right to
expatriate without the government’s approval or official recognition.” Id., at 130 and 143 (“[…]
executive recognition is neither legally nor practically necessary to expatriate.”).
9
  According to the Administrative Record (AR-190; ECF 14-1), the average total of indirect and
overhead costs between 2010-2014 ostensibly allocable to voluntary renunciation processing totaled
approximately $2.5 million, whereas the total costs of renunciation services were said to be roughly
$3.9 million.

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Hence, the Renunciation Fee resembles a tax levied to bolster federal revenue as opposed to a Cox-

like user fee. See Complaint, ¶¶159, 206.

        Second, Cox did not apply the strict scrutiny standard because the challenged fee was

regulating content-neutral speech. Cox does not apply to fees based on the content of the speech,

where strict scrutiny applies.      Such content-based fees would be prohibited under the First

Amendment. See Forsyth County, Ga. v. Nationalist Movement, 505 U.S. 123 (1992) (striking down

permit fee based on content of the speech and distinguishing Cox). In other words, when the applicable

standard of review is strict scrutiny, Cox is irrelevant.

       Plaintiffs contend that the implicated right is fundamental, thereby triggering strict scrutiny

review, as in content-based infringements in First Amendment cases. See Forsyth County, Ga. v.

Nationalist Movement, supra (Court applied strict scrutiny in the First Amendment context. 10). By

invoking Cox, the government erroneously presumes that the proper standard of review is something

less than strict scrutiny. But, once classified as a fundamental right, any governmental interference

with that right by way of charging a Renunciation Fee is subject to strict scrutiny. 11

       Third, any analogy between the present case and the Supreme Court’s First Amendment fee

jurisprudence is problematic. Cox is a First Amendment case. No court, to our knowledge, has ever



10
   This argument should not be construed as a concession by the Plaintiffs that their claims would not
survive intermediate, or even rational based scrutiny. Plaintiffs’ APA claim (Count IV) has shown
that the Renunciation Fee would fail under both lesser degrees of scrutiny.
11
   The government also invokes Kwong v. Bloomberg, 723 F.3d 160 (2d Cir. 2013), cert. denied, 572
U.S. 1149 (2014), to support its “fee jurisprudence” argument. However, the Kwong court explicitly
stated that it was applying “intermediate” – not strict – scrutiny. Id., at 168. The Kwong court went on
to explain that under this test, “a regulation that burdens a plaintiff’s Second Amendment rights passes
constitutional muster if it is substantially related to the achievement of an important governmental
interest.” Id. (internal quotations omitted). The Kwong court concluded that the “record demonstrates
that the licensing fee is designed to allow the City of New York to recover the costs incurred through
operating its licensing scheme, which is designed to promote public safety and prevent gun violence”
and therefore satisfies “intermediate scrutiny.” Id. Thus, Kwong is irrelevant because the substantial
interest underlying the gun license fee was not simply cost recoupment as it is here.

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applied the Court’s First Amendment fee jurisprudence to a Fifth Amendment substantive due process

right. The government cites Kwong v. Bloomberg, supra, that applied the Supreme Court’s fee

jurisprudence to the Second Amendment. The rule in Kwong, however, is not universally accepted.

Other courts have been reluctant to extend the fee jurisprudence doctrine to other fundamental

constitutional rights, including the Second Amendment. See, e.g., United States v. Cox, 906 F.3d 1170,

1187-1188 (10th Cir. 2018) (declining to apply Cox to Second Amendment fee challenges and citing

cases). Other authorities also question the logic of applying Cox outside the context of the First

Amendment. E.g., Genesa Cefali, Is First Amendment Fee Jurisprudence the Right Approach to the

Second Amendment? SECOND THOUGHTS: A BLOG FROM THE CENTER FOR FIREARMS LAW AT DUKE

UNIVERSITY (July 15, 2019). 12

       There is good reason for limiting Cox to First Amendment challenges and not applying it in the

present context. The exercise of First Amendment rights in certain cases naturally involves secondary

effects which generate ancillary costs to government bodies for which reasonable fees could be

legitimately assessed as a condition to the exercise of the right. The same may be true in the Second

Amendment context (see n. 11, supra). However, that is not the case when it comes to the right to

expatriate where there are no associated costs and no secondary effects on the public at large emanating

from the act of renunciation.

       Fourth, the Renunciation Fee at issue is more appropriately compared to a court filing fee than

to a parade or gun license. The government explicitly analogizes the Renunciation Fee to an

adjudication fee. ECF 17, at 19 (the Renunciation Fee is “directed at the undisputed fact that the

process of administering an oath [...] and adjudicating a request for a CLN imposes administration

costs on the Department.”) (emphasis added). In Boddie v. Connecticut, 401 U.S. 371 (1971)


12
      Available at https://sites.law.duke.edu/secondthoughts/2019/07/15/is-first-amendment-fee-
jurisprudence-the-right-approach-to-the-second-amendment/ (last accessed on Aug. 19, 2021).

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(hereinafter Boddie), the Supreme Court held that a $60 filing fee for divorce violated an indigent’s

right to due process under the Fourteenth Amendment. Id., at 787. See also M.L.B. v. S.L.J., 519 U.S.

102 (1996) (hereinafter M.L.B.) (Mississippi statutes that required appellant to pay in advance record

preparation fees estimated at $2,352 violated the Due Process Clause of the Fourteenth Amendment).

Thus, where fundamental due process rights are compromised by the assessment of a governmental

fee, the fee-jurisprudence doctrine under Cox is inapplicable. 13

       Fifth, Cox does not allow for fees that are arbitrary and capricious.         In their original

Memorandum, Plaintiffs described the manifold weaknesses in the government’s economic rationale

for charging the Renunciation Fee. See ECF 14, at 30-39. Plaintiffs showed that voluntary expatriation

under 8 U.S.C. §1481(a)(5) is a short and simple process that should not – and in fact does not – take

more than an hour of government staff time per application. ECF 14, at 31-32.

                     i.      Processing a renunciation request does not take more than one hour

       The Administrative Record (“AR”) indicates that the total amount of time that government

staff spend on processing and “adjudicating” voluntary renunciation applications by Foreign Service

Officers (“FSO”) and Locally Employed Staff (“LES”) is approximately one hour. See ECF 14, at

31-31. The government does not dispute this. Instead, the government claims that Plaintiffs failed

to take into account other indirect costs such as “overhead costs” and “public outreach.” ECF 17, at

3. The government also contends that Plaintiffs failed to consider the time spent by domestic staff at

the Bureau of Consular Affairs in Washington, D.C. Id., at 4. According to the government, the vast

majority of costs allocable to the voluntary renunciation process comprise (a) direct labor costs for



13
   Notably, Boddie and its progeny do not refer to Cox at all, even though Cox was decided thirty years
prior to Boddie. Moreover, in both Boddie and M.L.B., the Court rejected the defendant’s recoupment-
of-costs arguments. See M.L.B., at 557 (“Mississippi’s countervailing interest in offsetting the costs
of its court system is unimpressive when measured against the stakes for M.L.B.”); Boddie, at 382
(rejecting Connecticut’s “cost recoupment” argument.).

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domestic staff and (b) indirect/overhead costs.

       The AR does not support the government’s position regarding the time spent by domestic staff

[i.e., D.C.-based employees]. In its original Memorandum (ECF 11-1), the government did emphasize

the time spent by domestic staff. The Pickard Decl. (ECF 11-2) similarly does not discuss domestic

staff or justify the charge by reference to time spent by domestic staff. 14 Moreover, there is no

indication in the AR that the Overseas Time Survey (“OTS”) – the basis for the government’s

justification for the increase in the Renunciation Fee – recorded any data related to time spent by

domestic staff. As its name indicates, the Overseas Time Survey, “collected data from personnel at

[…] embassies and consulates overseas.” ECF 11-2, ¶8 (emphasis added) and utterly ignored time

spent by domestic staff.

       Realizing that the OTS does not address domestic staff costs, the government refers the Court

to portions of the Foreign Affairs Manual (the “FAM”) and 80 Fed. Reg. 51465-01 (Aug. 28, 2014)

which ostensibly show that domestic staff spend time on renunciation services. ECF 17, at 4. The

government asserts that “some applications require multiple rounds of correspondence” and that

applications “may include consultations with legal advisors.” ECF 17, at 4 (emphasis added). These

speculative and self-serving statements do not constitute substantial evidence that would justify a

drastic increase in the Renunciation Fee. These sources only show that, as a general proposition,

domestic staff may spend time on renunciation services. Neither the FAM nor the Federal Regulations

establishes the amount of time actually spent by domestic staff on voluntary renunciation services.

These sources do not even remotely address the actual costs attributable to domestic staff and appear

to be a post hoc rationalization for the 2015 increase. The Court is asked to take the government’s



14
   The only reference to domestic staff in the Pickard Decl. is in connection with “fraud prevention”
and “consular affairs management” which characterized as direct costs to the renunciation process.
Id., at ¶14(c) and (e).

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word that the time spent by domestic staff accounts for additional direct labor costs over and above

the undisputed one hour spent by FSOs and LES in consulates overseas. 15 Nothing in the FAM or the

Federal Regulations supports a $1,900 increase in the Renunciation Fee.

       Furthermore, the government’s reference to “overhead costs” is not supported by anything in

the AR. Overhead costs are not recorded in the AR under any specific cost category. The AR contains

no substantial evidence to support the government’s claim that these overhead costs can be rationally

allocated to voluntary renunciation services. The government concedes this. 16 The Court is again

asked to take the government’s word that these “overhead costs” justify adjusting the Renunciation

Fee, over and above the hour of time spent by FSOs and LES in processing a voluntary renunciation

case. The government has provided no substantial evidence to support this claim. 17


15
    The government also seeks to include in their cost evaluation the “time spent conducting
Administrative Reviews of loss of nationality determinations upon request by the individual who seeks
to reverse his or her loss determination.” ECF 17, at 4 n. 1. This argument is simply irrelevant. Reversal
of nationality loss determinations are a completely different procedure, independent of voluntary
renunciation under 8 U.S.C. §1481(a)(5). 22 C.F.R. §50.51. Significantly, no fee is charged for
reconsideration applications submitted under 22 C.F.R. §50.51.
16
   See ECF 17, at 3:
   Although not all of the time reflected under each of these activity codes was devoted to
   renunciation-related activities, the Administrative Record and accompanying Declaration confirm
   that it was reasonable for the Department of State to account for these other activities in determining
   the cost of the renunciation services fee.
17
   In their Memorandum, Plaintiffs also argued that “Other Bureau Services” and ICASS-related
services – totaling over $2.5 million per annum in indirect costs – are unrelated to renunciation
services. ECF 14, at 34. Plaintiffs argue as well that the “Model Data Set” does not provide any
explanation as to the nature of the costs or the method used to allocate these indirect costs to voluntary
renunciation services. In its Opposition, the government claims that these services are related to
renunciation because “they reflect the share of consular activities support from the various bureaus
that makes the renunciation service possible” and they represent the “backbone of administrative
support.” ECF 17, at 8-9. Again, the government evades the core issue: how were these astronomical
costs calculated and attributable to renunciation services? If Plaintiffs are correct that only one hour is
spent by FSOs and LES per application, then all indirect and “backbone” costs should be reduced pro
rata. The Administrative Record contains nothing to validate these costs. Again, we are asked to take
the government’s word – without substantial evidence – that $2.5 million in overhead and indirect
costs per year are reasonable and accurate.


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         Even if Cox is applicable (which Plaintiffs contest), it does not allow government agencies to

inflate their cost-recovery fees by including indirect and unrelated expenses. 18 Moreover, Cox does

not legitimize cost recoupment for unexplained and unsupported direct costs such as the domestic staff

labor expense in the present case.

                       ii.     The Renunciation Fee does not reasonably reflect the costs to the
                               government

         Despite having been given multiple opportunities to do so, the government has conspicuously

evaded answering a key question posed by Plaintiffs’ Complaint: How much staff time does it actually

take to process a single voluntary renunciation application. 19 The AR contains raw, heavily redacted,


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   Having relied almost exclusively on the Overseas Time Survey, the government now radically
changes course arguing, without specifying, that “loss of nationality is a program within the
Department’s Bureau of Consular Affairs” […] and that programs require “development,
administration, and maintenance and necessarily involve operational costs far beyond the cost of an
hour’s labor of a consular officer and locally employed staff overseas.” ECF 17, at 5 (emphasis in
original). Nowhere in the AR does the government explain why “program”-related costs make
voluntary renunciation more expensive. The government has also failed to explain why these extra
hours were not accounted for in the Overseas Time Survey which purportedly recorded all the time
spent by overseas staff on renunciation related services.
19
   Even before this litigation commenced, the government had multiple opportunities to detail the
amount of time it takes government staff to process a voluntary renunciation application. On
September 2, 2014, the government received the following comment from Joan Ingram, a London-
based attorney, in response to the notice-and-comment period pursuant to the Interim Final Rule, 79
Fed. Reg. 51247 (August 28, 2014):

     I find it hard to believe that the provision of this service actually costs $2,350 per renunciant. That
     represents some 17 hours of attention at the $135 hourly rate. The right approach to the problem of
     having to administer so many more renunciations than previously must be to reduce the paperwork
     and bureaucracy involved, rather than increase the fee.

AR-508.

       The government acknowledged the receipt of the comment in 80 Fed. Reg. 51464 (Aug. 25,
2015) [See AR-2], but failed to detail the amount of hours it takes to process a renunciation application.
Instead, as it has done here multiple times, the government described in general fashion those steps
that need to be taken to renounce citizenship. In addition, the government relied upon its Cost of
Service Model (“CoSM”) – part of the OTS – which ostensibly “demonstrated that documenting a U.S.
national’s renunciation of nationality is extremely costly.” Id. As we have already discussed, the CoSM
says nothing of the sort.

                                                     13
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data. Still, based on this incomplete data, Plaintiffs have been able to show that, according to the

government’s own information, it takes approximately 23 hours of staff time to process a voluntary

renunciation application. ECF 14, at 33-34. While criticizing Plaintiffs’ methodology, the government

refuses to explain exactly how much time it takes to process a single application. ECF 17, at 7.

          The government essentially agrees that Plaintiffs’ 23-hour per application estimate is accurate,

stating that it “represents approximately three workdays,” and when considering the “time consuming”

factors “that make the service possible,” the 23-hour figure – “assuming its accuracy – would not be

far-fetched.” Id., at 8. Three workdays per application, however, multiplied by the average

annual volume of renunciation applications (i.e., 1,703 per year) would result in a total of 5,109

workdays, almost 14 man years and 39,169 man hours within a single year. On its face, these

statistics are absurd and strongly suggest that the State Department is grossly mismanaging the

renunciation “program.” Nothing in Cox or its progeny permit a governmental agency to justify fixing

and inflating a fee based on such arbitrary cost data and far-fetched analysis.

          In sum, recognizing that justifying the Renunciation Fee is problematic, the government seeks

refuge in the Supreme Court’s fee jurisprudence, citing Cox and the Second Circuit decision in Kwong.

As we have demonstrated, there are numerous reasons why neither case along with the Supreme

Court’s fee-jurisprudence doctrine, is relevant to Plaintiffs’ substantive Due Process claim in this case.

Consequently, the Court is requested to deny the government’s motion for summary judgment on

Count I and grant Plaintiffs’ motion for summary judgment under the Fifth Amendment’s Due Process

Clause.




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     II.      PLAINTIFFS ARE ENTITLED TO SUMMARY JUDGMENT ON THEIR FIRST
              AMENDMENT CLAIM: THE RENUNCIATION FEE VIOLATES THE FIRST
              AMENDMENT RIGHT TO FREEDOM OF SPEECH

           In their original Memorandum, Plaintiffs argued that the Renunciation Fee is a content-based

restriction on the exercise of free speech because of “the highly expressive nature, historical pedigree,

the legal consequence bestowed upon the renunciant, and the uniqueness of voluntary expatriation.”

ECF 14, at 25. In its Opposition, the government claims that that the Renunciation Fee is a content-

neutral restriction and is therefore subject to O’Brien intermediate scrutiny review. 20 United States v.

O’Brien, 391 U.S. 367 (1968). ECF 17, at 20-21.

           A general government policy the sole purpose of which is budgetary administration pales in

importance when compared to, for example, regulating public nudity and maintaining the integrity of

the Selective Service System. See ECF 14, at 26, n. 30 (citing cases). Precedent demonstrates that a

general cost recoupment policy cannot be characterized as “important” or “substantial” for purposes

of O’Brien. Id., at 19-20. The government disregards these authorities. The second O’Brien factor is,

therefore, not satisfied.

           Under the fourth O’Brien criterion, the restriction must be no greater than is essential to

furthering the important governmental interest. The government claims in its Opposition that its

interest “in recovering the cost of its services would certainly be achieved less effectively if the fee set

aside or disregarded the actual cost of offering the service.” However, as we have discussed earlier,

the government has failed to establish that the $2,350 Renunciation Fee reflects the actual cost of




20
  Under the O’Brien standard, government action that burdens speech will survive a First Amendment
challenge if the following four conditions are satisfied: (1) the government acted within its
constitutional power; (2) the regulation furthers an important governmental interest; (3) the
government’s interest is unrelated to the suppression of free expression; and (4) the restriction is no
greater than is essential to furthering the government interest. United States v. O’Brien, 391 U.S. 367
(1968).

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processing renunciation applications. 21

     III.      PLAINTIFFS ARE ENTITLED TO SUMMARY JUDGMENT ON THEIR
               CUSTOMARY INTERNATIONAL LAW CLAIM: 8 U.S.C. §1481(A)(5) SHOULD
               BE INTERPRETED TO CONFORM TO CUSTOMARY INTERNATIONAL LAW


            Plaintiffs are also entitled to summary judgment on their customary international law (“CIL”)

claim. Contrary to the government’s argument (ECF 17, at 25-26), international practice and American

policy – executive, judicial and legislative – show that the right to voluntarily choose one’s nationality

is part of CIL. ECF 14, at 43; see also 7 FAM 1290(e), App’x “A”, “Later Twentieth Century

Developments,” (where the State Department notes unequivocally: “The United States has recognized

the right of expatriation as an inherent right of all people.”); see also Usoyan v. Republic of Turkey, __

F.4th __, 2021 WL 3160500, at *7 (D.C. Cir. July 27, 2021) (“[…] United States’ legal position is itself

evidence of international law.”).

            The government argues that Plaintiffs have failed to demonstrate that there is a right to

expatriate under CIL that is “so absolute as to be violated by the imposition of” a $2,350 Renunciation

Fee.” Plaintiffs have never taken the position that the right to voluntarily renounce citizenship free of

charge is part of CIL. Rather, Plaintiffs contend that CIL recognizes a right to voluntarily expatriate

and, therefore, any restriction on that right making its exercise almost impossible for large classes of

individuals violates CIL. See ECF 14-4 (compendium of Plaintiffs’ declarations stating that the

Renunciation Fee is prohibitively expensive).

            Most western countries do not charge for voluntary renunciation of citizenship and, where they

do, the fee is far less than the $2,350 Renunciation Fee. ECF 14-3. The government counters that this


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  The first O’Brien factor is not met as well because, as discussed in Plaintiffs’ original brief and
above, the Renunciation Fee violates the IOAA. Thus, the government lacked authority to levy the
charge in the first place. With regard to the third factor (the government’s interest is unrelated to the
suppression of free expression), Plaintiffs have previously argued that the renunciation fee is a content-
based restriction, the effect of which is to suppress free expression.

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is “insufficient” because such practice “must also be such […] as to be evidence of a belief that this

practice is rendered obligatory by the existence of a rule of law requiring it.” ECF 17, at 27, quoting

North Sea Continental Shelf Cases (Federal Republic of Germany v. Denmark / Federal Republic of

Germany v. Netherlands), 1969 I.C.J. REPORTS 3, 44, ¶77 (Feb. 20, 1969).

         The government’s reliance on the North Sea cases is out of date. The subjective element of

CIL discussed in the North Sea cases, known by its Latin expression opinio juris sive necessitates, has

been described as “the most disputed and least comprehended component of the workings of customary

international law.” Jörg Kammerhofer, Uncertainty in the Formal Sources of International Law:

Customary International Law and Some of its Problems, 15 EUR. J. INT’L L. 523-553, 532 (2004); see

also RESTATEMENT (THIRD) OF THE FOREIGN RELATIONS LAW OF THE UNITED STATES, §102 reporters’

note 2 (1987) (noting the paradox between the “state practice” and “opinio juris” elements as sources

of CIL). 22 Proving why states refrain from levying a charge for voluntary renunciation is difficult, if

not impossible. See Ian Brownlie, PRINCIPLES OF PUBLIC INTERNATIONAL LAW (New York: Oxford

University Press, 2008), at 8-9. It is for this reason that the modern trend in international law is to

assume the existence of opinio juris from the evidence of state practice. See e.g., Military and

Paramilitary Activities in and against Nicaragua (Nicaragua v. United States of America), Merits,

1986 I.C.J. REPORTS 160, 165 (June 27, 1986); André da Rocha Ferreira, Cristieli Carvalho, Fernanda

Graeff Machry, Pedro Barreto Vianna Rigon, Formation and Evidence of Customary International

Law, 1 UFRGS 23 MODEL UNITED NATIONS JOURNAL, 182-201, 191 (2013) (noting that the more



22
     H.W.A. Thirlway, INTERNATIONAL CUSTOMARY LAW AND CODIFICATION 47 (1972):

     The precise definition of the opinio juris, the psychological element in the formation of custom,
     the philosophers’ stone which transmutes the inert mass of accumulated usage into the gold of
     binding legal rules, has probably caused more academic controversy than all the actual contested
     claims made by States on the basis of alleged custom, put together.
23
   UFRGS stands for “Universidade Federal do Rio Grande do Sul.”

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flexible approach [i.e., focusing on state practice] has been followed by the ICJ in “many cases” and

that the North Sea Continental Shelf cases represent the more restrictive and less applied approach);

David Lefkowitz, (Dis)solving the Chronological Paradox in Customary International Law: A Hartian

Approach, Philosophy Faculty Publications 59. (2008) (advocating the “state preference” approach).

       According to one leading scholar, the more flexible approach adopted by the ICJ regarding the

requirements for the identification of customary norms is reflected in three factors, two of which are

directly related to this litigation. The first factor is that “complete uniformity of State practice is not

necessary for a customary rule of international law to emerge.” Alberto Alvarez-Jiménez, Methods for

the Identification of Customary International Law in the International Court of Justice’s

Jurisprudence: 2000-2009, 60 INT’L & COMP. L. Q. 3, 681-712, 687 (2011). In fact, states’ “behaviour

contrary to the practice could constitute a violation of the rule rather than preventing it from

crystallizing as customary.” Id. The second factor “of this flexible trend is the loosening of the

requirements for inference of the existence of opinio juris.” Id.

       The uniform international recognition of the general right to voluntarily expatriate, coupled

with the uniform state practice of allowing citizens to expatriate free of charge or for a nominal fee,

including the statements by the State Department itself, is more than enough to permit the Court to

conclude that the imposition of an exorbitant fee which effectively prevents or chills expatriation

contravenes CIL.

       Under Murray v. The Schooner Charming Betsy, 6 U.S. (2 Cranch) 64, 118 (1804) (see ECF

14, at 42), 8 U.S.C. §1481(a)(5) should be interpreted and applied to the extent possible to conform to

CIL. As a result, Section 1481(a)(5) should be construed either to prohibit assessment of the

Renunciation Fee altogether or, at a minimum, to limit the charge to a reasonable and fair amount. For

these reasons, the Court is requested to deny the government’s motion for summary judgment as to

Count V and to grant Plaintiffs’ motion for partial summary judgment as to that Count.

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                                                   CONCLUSION

       For all the reasons set forth above and in Plaintiffs’ Motion for Partial Summary Judgment

(ECF 13 and 14), and supporting authorities, the Court is respectfully requested to:

   1. Deny Defendants’ motion to dismiss Counts III and V;

   2. Deny Defendants’ motion for summary judgment as to Counts I-V;

   3. Grant Plaintiffs’ motion for partial summary judgment as to Counts I-II and V.

Dated: August 19, 2021.



                              Respectfully submitted,

 /s/ L. Marc Zell                                   /s/ Noam Schreiber
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on Aug. 19, 2021, the foregoing was filed via the Court’s CM/ECF system,

which serves the same on counsel for Defendants through notice of such filing.


                                                   /s/ Noam Schreiber
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